                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF TENNESSEE


NIKKI BOLLINGER GRAE, Individually and )             Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )        Honorable Aleta A. Trauger
                             Plaintiff,     )
                                            )        PLAINTIFF’S UNOPPOSED MOTION FOR
      vs.                                   )        (I) PRELIMINARY APPROVAL OF
                                            )        SETTLEMENT; AND (II) APPROVAL OF
CORRECTIONS CORPORATION OF                  )        NOTICE TO THE CLASS
AMERICA, et al.,                            )
                                            )
                             Defendants.    )
                                            )



TO:    ALL PARTIES AND THEIR ATTORNEYS OF RECORD
       PLEASE TAKE NOTICE that, upon the accompanying memorandum of law, the Stipulation

of Settlement with exhibits, and all pleadings and records on file in this case, Plaintiff Amalgamated

Bank, as Trustee for the LongView Collective Investment Fund, hereby moves the Court for an

order: (1) granting preliminary approval of the proposed settlement; (2) approving the form and

manner of giving notice of the proposed settlement to the Class; and (3) setting a hearing date for

final approval thereof, and a schedule for various deadlines relevant thereto.

DATED: June 24, 2021                             Respectfully submitted,

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                                                 CHRISTOPHER H. LYONS, #034853


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                                  CERTIFICATE OF SERVICE
       I hereby certify under penalty of perjury that on June 24, 2021, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and I

hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

non-CM/ECF participants indicated on the attached Manual Notice List.

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The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may wish to use your mouse
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